               Case 5:23-cr-00007-LGW-BWC Document 8 Filed 07/25/23 Page 1 of 1



                                            UNITED STATES DISTRICT COURT
                                            SOUTHERN DISTRICT OF GEORGIA
                                                 :$<&5266DIVISION

                                                   CLERK’S MINUTES

CASE NO.: 5:23-cr-7                                             DATE: July 25, 2023
UNITED STATES OF AMERICA                                        TIME: 1:05-1:20
v.                                                              LOCATION:        %UXQVZLFN
JC LONGORIA CASTRO

Judge: %HQMDPLQ:&KHHVEURUS Magistrate Judge                Courtroom Deputy: .LP0L[RQ
Court Reporter: FTR%:.&5                                     Interpreter:
Probation Officer: Sarah Railing                                Security: Jason P.-USMS
Attorney(s) for Government: Greg Gilluly
Attorney(s) for Defendant: Brian Tanner-Retained

                            PROCE(',1*,1,7,$/ APPEARANCE/ARRAIGNMENT
     &-$3URYLGHGLQXQGHUO\LQJFDVH
     'HIHQGDQWTXDOLILHVIRUFRXUWDSSRLQWHGFRXQVHO&RXQVHODSSRLQWHG
✔ Defendant advised of rights DQGWKH*RYHUQPHQW VGLVFORVXUHREOLJDWLRQV
✔ Defendant advised of charges and penalties
✔ 'HIHQGDQWZDLYHGIRUPDOUHDGLQJRI,QIRUPDWLRQ
✔ Not guilty plea entered
✔ :DLYHURI,QGLFWPHQWH[HFXWHG
     6FKHGXOLQJDQG'LVFRYHU\2UGHUZDVGLVFXVVHGDQGZLOOEHILOHGDVDVHSDUDWHHQWU\ZLWKVSHFLILFGDWHV
     *RYHUQPHQWPRYHVIRUGHWHQWLRQ
          'HIHQGDQWUHTXHVWVGD\VWRSUHSDUHIRUGHWHQWLRQKHDULQJ
           Government requests 3 days to prepare for detention hearing
           Defendant waives detention hearing at this time
           'HWHQWLRQKHDULQJVFKHGXOHGIRU
           'HWHQWLRQKHDULQJKHOG
✔ Defendant released oQERQGVXEMHFWWRFRQGLWLRQV'RFDVDPHQGHGGRF'HIHQGDQWDGYLVHGRIFRQGLWLRQV
     'HIHQGDQWUHOHDVHGZLWKVXSHUYLVLRQ
     'HIHQGDQWGHWDLQHGSHQGLQJDGHWHQWLRQKHDULQJ
     'HIHQGDQWGHWDLQHGSHQGLQJWULDO
     'HIHQGDQWUHPDLQVLQWKHFXVWRG\RIWKH8QLWHG6WDWHV0DUVKDO6HUYLFH
$'',7,21$/&200(176

Defendant allowed to remain on bond under previous conditions set by the Court, doc. 112, as amended doc. 342 in 521cr9
